JS 44 (Rev. 06/17)                                                      CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
In re DOMI Publications, LLC                                                                             Objecting Party, George Rikos and The Law Offices of George
                                                                                                         Rikos
  (b) County of Residence of First Listed Plaintiff              Clark County                             County of Residence of First Listed Defendant San Diego
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
                                                                                                       Heather L. Rosing (SBN 183986), Earll M. Pott (SBN 156516),

                                       '20CV0871 JAH BLM
                                                                                                       Tara M. Burd (SBN 276676) / KLINEDINST PC, 501 W.
                                                                                                       Broadway, Ste. 600, San Diego, CA 92101, Tel. (619) 239-8131
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                          and One Box for Defendant)
   1 U.S. Government                    3 Federal Question                                                                      PTF           DEF                                          PTF     DEF
        Plaintiff                           (U.S. Government Not a Party)                         Citizen of This State             1            1     Incorporated or Principal Place         4      4
                                                                                                                                                         of Business In This State
    2 U.S. Government                   4 Diversity                                               Citizen of Another State
                                                                                                                                        2        2     Incorporated and Principal Place        5      5
        Defendant                           (Indicate Citizenship of Parties in Item III)         Citizen or Subject of a                                 of Business In Another State
                                                                                                     Foreign Country                    3        3                                             6      6
                                                                                                                                                       Foreign Nation
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                              Click here for: Nature of Suit Code Descriptions.
         CONTRACT                                    TORTS                                           FORFEITURE/PENALTY                         BANKRUPTCY                       OTHER STATUTES
    110 Insurance                     PERSONAL INJURY     PERSONAL INJURY                              625 Drug Related Seizure                                                 375 False Claims Act
                                                                                                                                              422 Appeal 28 USC 158
                                        310 Airplane                    365 Personal Injury -              of Property 21 USC 881
    120 Marine                                                                                                                                423 Withdrawal                    376 Qui Tam (31 USC
                                        315 Airplane Product                Product Liability          690 Other                                  28 USC 157                        3729(a))
    130 Miller Act
                                            Liability                   367 Health Care/                                                                                        400 State Reapportionment
    140 Negotiable Instrument                                               Pharmaceutical                                                    PROPERTY RIGHTS
                                        320 Assault, Libel &                                                                                                                    410 Antitrust
    150 Recovery of Overpayment                                             Personal Injury                                                   820 Copyrights
                                            Slander
     & Enforcement of Judgment                                             Product Liability                                                                                    430 Banks and Banking
                                        330 Federal Employers’                                                                                830 Patent
    151 Medicare Act                        Liability                  368 Asbestos Personal                                                                                    450 Commerce
                                                                                                                                              835 Patent - Abbreviated
    152 Recovery of Defaulted                                              Injury Product                                                                                       460 Deportation
                                        340 Marine                                                                                               New Drug Application
        Student Loans                                                      Liability
        (Excludes Veterans)             345 Marine Product           PERSONAL PROPERTY                                                        840 Trademark                     470 Racketeer Influenced and
                                            Liability                                                                                                                               Corrupt Organizations
    153 Recovery of Overpayment                                         370 Other Fraud                       LABOR                           SOCIAL SECURITY
                                        350 Motor Vehicle                                                                                                                       480 Consumer Credit
        of Veteran’s Benefits                                           371 Truth in Lending           710 Fair Labor Standards               861 HIA (1395ff)
    160 Stockholders’ Suits             355 Motor Vehicle                                                  Act                                                                  490 Cable/Sat TV
                                                                        380 Other Personal                                                    862 Black Lung (923)
                                            Product Liability                                          720 Labor/Management                                                     850 Securities/Commodities/
    190 Other Contract                                                      Property Damage                                                   863 DIWC/DIWW (405(g))
                                        360 Other Personal                                                 Relations                                                                Exchange
    195 Contract Product Liability          Injury                      385 Property Damage                                                   864 SSID Title XVI
                                                                                                       740 Railway Labor Act                                                    890 Other Statutory Actions
    196 Franchise                                                           Product Liability
                                        362 Personal Injury -                                                                                 865 RSI (405(g))
                                                                                                       751 Family and Medical                                                   891 Agricultural Acts
                                            Medical Malpractice                                            Leave Act
      REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS                                                      FEDERAL TAX SUITS                  893 Environmental Matters
                                                                                                       790 Other Labor Litigation
                                                                      Habeas Corpus:                                                                                            895 Freedom of Information
    210 Land Condemnation               440 Other Civil Rights                                                                                870 Taxes (U.S. Plaintiff
                                                                        463 Alien Detainee             791 Employee Retirement                                                      Act
                                                                                                                                                  or Defendant)
    220 Foreclosure                     441 Voting                                                         Income Security Act                                                  896 Arbitration
                                                                        510 Motions to Vacate            IMMIGRATION                          871 IRS—Third Party
    230 Rent Lease & Ejectment          442 Employment                      Sentence                                                              26 USC 7609                   899 Administrative Procedure
    240 Torts to Land                   443 Housing/                                                   462 Naturalization Application                                               Act/Review or Appeal of
                                                                        530 General
                                            Accommodations                                                                                                                          Agency Decision
    245 Tort Product Liability                                                                         465 Other Immigration
                                                                       535 Death Penalty                                                                                        950 Constitutionality of
                                        445 Amer. w/Disabilities-                                          Actions
    290 All Other Real Property                                       Other:                                                                                                        State Statutes
                                            Employment
                                                                        540 Mandamus & Other
                                        446 Amer. w/Disabilities-
                                            Other                       550 Civil Rights
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
    1 Original               2 Removed from                 3 Remanded from                      4 Reinstated or         5 Transferred from                6 Multidistrict               8 Multidistrict
      Proceeding              State Court                         Appellate Court                 Reopened                 Another District                   Litigation-                Litigation -
                                                                                                                    (specify)                                 Transfer                   Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION                     Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                        CHECK YES only if demanded in complaint:
      COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                                                                                 JURY DEMAND:            Yes     No
VIII. RELATED CASE(S)                     (See instructions):
      IF ANY                                                        JUDGE                                                                   DOCKET NUMBER
DATE May 8, 2020                                                      SIGNATURE OF ATTORNEY OF RECORD                 /s/ Earll M. Pott
FOR OFFICE USE ONLY
 RECEIPT #                       AMOUNT                                  APPLYING IFP                                   JUDGE                                  MAG. JUDGE
                                                                                                                                                                             American LegalNet, Inc.
                                                                                                                                                                             www.FormsWorkFlow.com
JS 44 Reverse (Rev. 06/17)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
 (b)     County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
 (c)     Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        When the petition for removal is granted, check this box.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                         American LegalNet, Inc.
                                                                                                                                         www.FormsWorkFlow.com
